                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                           Inmate: 542962 - KURKOWSKI, PATRICK R.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     10/21/2016          FLCI-2016-23064         7 - Personal        Inmate complains he is missing some of his property that
                                                 Property            was either misplaced or packed up with his cellmate
                                                                     (Anthony Pearker #623237).
     05/09/2017          FLCI-2017-12051         7 - Personal        Inmate complains he was denied his scissors in his
                                                 Property            property.
     04/20/2020          KMCI-2020-6799          6 - Personal        Inmate complains of staff not wearing PPE during
                                                 Physical Conditions COVID-19 pandemic.
     07/27/2020          KMCI-2020-12817         8 - Rules           Inmate complains of bathroom rules.
     10/27/2020          KMCI-2020-18645         4 - Medical           Inmate complains denied medical treatment for COVID.
     06/02/2023          DCI-2023-8115           12 - Other            PIOC complains about canceled rec and no make up rec.
     07/20/2023          DCI-2023-10764          12 - Other            PIOC complains his PREA complaint was disregarded
     08/21/2023          WCI-2023-12447          12 - Other            complains he is not receiving more then one recreation
                                                                       period a week
     08/28/2023          WCI-2023-12844          12 - Other            complains he did not receive recreation that week of
                                                                       8/21/23
                                                      *** End of Report ***




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                                                      ** ICRS CONFIDENTIAL **


                                                                            EXHIBIT
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